                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA



UNITED STATES OF AMERICA                              )
                                                      )       Case No. 1:11-cr-79
v.                                                    )
                                                      )       COLLIER / CARTER
JEFFERY DALE MCCLENDON                                )


                             REPORT AND RECOMMENDATION



       Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on January 24, 2012.

At the hearing, defendant moved to withdraw his not guilty plea to Counts Two and Four of the four-

count Amended Indictment and entered a plea of guilty to Counts Two and Four of the Amended

Indictment, in exchange for the undertakings made by the government in the written plea agreement.

On the basis of the record made at the hearing, I find the defendant is fully capable and competent

to enter an informed plea; the plea is made knowingly and with full understanding of each of the

rights waived by defendant; the plea is made voluntarily and free from any force, threats, or

promises, apart from the promises in the plea agreement; the defendant understands the nature of

the charge and penalties provided by law; and the plea has a sufficient basis in fact.

       Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Counts

Two and Four of the Amended Indictment be granted, his plea of guilty to Counts Two and Four of

the Amended Indictment be accepted, the Court adjudicate defendant guilty of the charges set forth

in Counts Two and Four of the Amended Indictment, and a decision on whether to accept the plea

agreement be deferred until sentencing. I further RECOMMEND defendant remain in custody until




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sentencing in this matter. Acceptance of the plea, adjudication of guilt, acceptance of the plea

agreement, and imposition of sentence are specifically reserved for the district judge.


                                               s/fâátÇ ^A _xx
                                               SUSAN K. LEE
                                               UNITED STATES MAGISTRATE JUDGE



                                      NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
of guilty in this matter. See 28 U.S.C. §636(b).




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